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                        IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                    INDICTMENT

        Plaintiff,                             COUNTS I and II:
                                               IN VIOLATION OF 18 U.S.C. § 1703(a)
        vs.                                    Delay or Destruction of Mail or
                                               Newspapers
  DIANA K. MOLYNEUX,

         Defendant.                             Case: 2:19-cr-00102
                                                Assigned To : Kimball Dale A
                                                Assign. Date : 3/13/2019     ·
       The Grand Jury Charges:                  Description:

                                        COUNT I
              18 US.C. § 1703(a), Delay or Destruction of Mail or Newspapers

      On or about August 21, 2018, in the Central Division of the District of Utah,

                                DIANA K. MOLYNEUX,

defendant herein, being a Postal Service officer and employee, unlawfully secreted,

destroyed, detained, delayed, and opened any letter, postal card, package, bag, and mail

entrusted to her and which came into her possession, and which was intended to be

conveyed by mail, and carried and delivered by any carrier or other employee of the

Postal Service, and forwarded through and delivered from any post office and station

thereof established by authority of the Postmaster General and the Postal Service; all in .

violation of 18 U.S.C. § 1703(a).
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                                    COUNT II
           18 US.C. § 1703(a), Delay or Destruction of Mail or Newspapers

    On or about September 19, 2018, in the Central Division of the District of Utah,

                                DIANA K. MOLYNEUX,

defendant herein, being a Postal Service officer and employee, unlawfully secreted,

destroyed, detained, delayed, and opened any letter, postal card, package, bag, and mail

entrusted to her and which came into her possession, and which was intended to be .

conveyed by mail, and carried and delivered by any carrier or other employee of the

Postal Service, and forwarded through and delivered from any post office and station

thereof established by authority of the Postmaster General and the Postal Service; all in

violation of 18 U.S.C. § 1703(a).

                                                 A TRUE BILL:




                                                 FOREP[gJN OF GRAND JURY
JOHN W. HUBER
United States Attorney




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